               IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

                                         )
AMERICAN INSTITUTE FOR INTERNATIONAL)
STEEL, INC., SIM-TEX, LP, and KURT ORBAN )
PARTNERS, LLC,                           )
                                         )
              Plaintiffs,                )                   Court No. 18-00152
       v.                                )
                                         )
UNITED STATES and KEVIN K. MCALEENAN, )
Commissioner, United States Customs and  )
Border Protection,                       )
                                         )
              Defendants.                )
                                         )

                           MOTION FOR SUMMARY JUDGMENT
         Pursuant to U.S. Court of International Trade Rule 56 and on the grounds set forth in the

accompanying Memorandum in Support of Plaintiffs’ Motion for Summary Judgment and the

Statement of Undisputed Facts annexed hereto, Plaintiffs the American Institute for International

Steel, Inc., Sim-Tex, LP, and Kurt Orban Partners, LLC hereby move that this Court:

         a. Enter an order granting summary judgment in favor of Plaintiffs in this action;

         b. Enter a declaratory judgment that section 232 and Proclamation 9705, together with
            the subsequent amendments to it, are unconstitutional as a violation of Article I,
            section 1 of the Constitution and the doctrine of separation of powers and the system
            of checks and balances that the Constitution protects;

         c. Permanently enjoin the defendants from enforcing Proclamation 9705 and the
            subsequent amendments to it; and

         e. Grant such other and further relief as may be just and proper.




                                                 1
 11924414 v1
                           Respectfully submitted,

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Dated: July 19, 2018



                       2
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Commissioner, United States Customs and  )
Border Protection,                       )
                                         )
              Defendants.                )
                                         )

                                              ORDER
          Upon consideration of Plaintiffs’ Motion for Summary Judgment and all responses

thereto, it is hereby:

          ORDERED that Plaintiffs’ Motion for Summary Judgment is GRANTED; and it is

further

          ORDERED that section 232 and Proclamation 9705 are hereby declared unconstitutional

as in violation of Article I, section 1 of the Constitution of the United States and the doctrine of

separation of powers provided for therein; and it is further

          ORDERED that defendants are hereby permanently enjoined from enforcing

Proclamation 9705 and the subsequent amendments thereto.

SO ORDERED.


                                                                                                Judge
Dated:
           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

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              Defendants.                )
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                   MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                       MOTION FOR SUMMARY JUDGMENT
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July 19, 2018
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                                                                   v
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              Plaintiffs,                )                     Court No. 18-00152
       v.                                )
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UNITED STATES and KEVIN K. MCALEENAN, )
Commissioner, United States Customs and  )
Border Protection,                       )
                                         )
              Defendants.                )
                                         )


                      MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                        MOTION FOR SUMMARY JUDGMENT

                    INTRODUCTION AND SUMMARY OF ARGUMENT

       This is an action seeking a declaratory judgment and an injunction against the

enforcement of section 232 of the Trade Expansion Act of 1962, as amended, 19 U.S.C. § 1862

(“section 232”), on the ground that it constitutes an improper delegation of legislative authority

to the President, in violation of Article I, section 1 of the Constitution and the doctrine of

separation of powers and the system of checks and balances that the Constitution protects. The

specific claim before this Court arises from the actions of the President, through proclamations

issued under section 232, in which he imposed a 25% ad valorem tariff on steel products

imported into the United States from most, but not all, countries (“the 25% tariff”).

       As a facial challenge to section 232, this case should be decided on cross-motions for

summary judgment. To demonstrate the injuries caused them by section 232 and the 25% tariff,

Plaintiffs have submitted the declarations of Richard Chriss, President of Plaintiff American

Institute for International Steel, Inc. (“AIIS”); John Foster, President of Plaintiff Kurt Orban


                                                  1
Partners, LLC (“Orban”); and Charles Scianna, President of Plaintiff Sim-Tex, LP (“Sim-Tex”).

In further support of their motion, Plaintiffs cite to the four proclamations of the President that

imposed the 25% tariff and then modified the countries whose steel products are subject to it, as

well as to the procedures that the Secretary of Commerce (the “Secretary”) issued to respond to

individual requests by U.S. companies for product-specific exclusions from the 25% tariff.

       Finally, this memorandum includes citations to the Steel Report prepared by the

Secretary in support of his finding for the President that steel imports may threaten to impair the

national security, as that term is broadly defined in section 232. Included as an appendix to the

Steel Report are the written statements submitted by 37 witnesses who testified before the

Department of Commerce (“Commerce”) on May 24, 2017. The Steel Report also contains a

link to the written statements submitted by more than 200 other interested persons to the

Secretary for his consideration, some of which will also be cited herein. The citations to these

statements are not to establish the truth of what they assert, but to establish the many ways that

those who rely on imported steel in their businesses informed Commerce that the tariffs would

affect them. Those statements are significant because they are the kind of effects that a 25%

steel tariff would be expected to produce, and yet, most pertinent to this challenge, section 232

does not (a) require the President to take them into account in selecting the means to respond to

the perceived threat that imported steel products may impair the national security, (b) forbid him

from taking them into account, (c) forbid him to take some into account, but not others; or most

importantly (d) provide him with any guidance on whether and how to take these factors into

account.




                                                  2
       This case challenges the constitutionality of section 232 because Congress has essentially

turned over to the President the constitutional authority “[t]o lay and collect [t]axes, [d]uties,

[i]mposts and [e]xcises,” expressly given in Article I, section 8 of the Constitution to Congress.

U.S. CONST., art. 1, § 8, cl. 1. Section 232 does that without providing the kind of “intelligible

principle” required by the Supreme Court in J.W. Hampton, Jr., & Co. v. United States, 276 U.S.

394, 409 (1928), to satisfy the nondelegation doctrine and the mandate of Article I that the

legislature, not the President, make the laws.

       Section 232, like most statutes challenged on nondelegation grounds, has two

components, each of which must contain an intelligible principle to guide its application. First,

there is a trigger, which is the finding needed to make the statute operative, in this case a

conclusion that imports may “threaten to impair the national security.” 19 U.S.C. §

1862(b)(3)(A). Second, once the trigger has been found, the statute gives the designated official

the authority to select the remedies (or means of implementation). Specifically, section 232

allows the President, in his unbridled discretion, to “determine the nature and duration of the

action that, in the judgment of the President, must be taken to adjust the imports of the

[imported] article and its derivatives so that such imports will not threaten to impair the national

security.” 19 U.S.C. § 1862(c)(1)(A)(ii). As we describe below, section 232 provides no

restraints that limit the President’s invoking the trigger or in his choice of remedies—tariffs,

quotas, or something else—in what amounts, as applied to which products, and to which

countries.

       In essence, in section 232 Congress has transferred to the President the ability to make

the essential policy choices that the Constitution assigns to Congress and Congress is required to

retain under our Constitution and the principles of separation of powers that animate it. For that




                                                  3
reason, section 232 is like the Line Item Veto Act, which was condemned by the Supreme Court

in Clinton v. City of New York, 524 U.S. 417 (1998), because that Act purported to permit the

President to use the “cancellation” process in that Act to reject the policy choices made by

Congress in the parts of a law that he “canceled.” To be sure, the Court in Clinton did not rely

on the nondelegation doctrine on which Plaintiffs rely here, but the structural flaw of presidential

versus congressional lawmaking is present in both.

       There is another aspect of section 232 that reinforces the conclusion that it is

unconstitutional. When today so much of the power to implement the laws has been assigned to

the President or administrative agencies, Congress has provided important checks on their use of

those powers to assure that the laws are carried out as Congress provided. But section 232

contains none of the procedural safeguards found in rulemakings governed by the Administrative

Procedure Act. Moreover, section 232 has no provision for judicial review, and because

discretionary decisions like that imposing the 25% tariff here are made by the President, they are

not subject to judicial review under the Administrative Procedure Act. The result is that

Congress created an unconstitutional regime in section 232, in which there are essentially no

limits or guidelines on the trigger or the remedies available to the President, and no alternative

protections to assure that the President stays within the law, instead of making the law himself.

                                   QUESTION PRESENTED

       Is section 232 of the Trade Expansion Act of 1962, as amended, 19 U.S.C. § 1862

(“section 232”), unconstitutional on the ground that it lacks an intelligible principle and therefore

constitutes an improper delegation of legislative authority to the President, in violation of Article

I, section 1 of the Constitution and the doctrine of separation of powers and the system of checks

and balances that the Constitution protects?




                                                  4
                                  STATEMENT OF THE CASE

       A.      OPERATION OF SECTION 232

       Section 232 was enacted pursuant to the power granted exclusively to Congress in Article

I, section 8 of the Constitution “[t]o lay and collect [t]axes, [d]uties, [i]mposts and [e]xcises” as

well as its authority “[t]o regulate [c]ommerce with foreign [n]ations . . . .” U.S. CONST., art. I,

§ 8, cl. 1, 3. Section 232(b) directs the Secretary on the application of any department or agency,

the request of an interested party, or on his own motion, to undertake an investigation to

determine the effects of imports of a particular article of commerce on the national security.

After following certain procedural steps, and within 270 days of initiating the investigation, the

Secretary is required to submit a report to the President, which includes his findings on whether

that “article is being imported into the United States in such quantities or under such

circumstances as to threaten to impair the national security,” and his recommendations for action

by the President. 19 U.S.C. § 1862(b)(3)(A). Under section 232(c), the President has 90 days to

determine whether to concur with the findings of the Secretary, and if he concurs, to “determine

the nature and duration of the action that, in the judgment of the President, must be taken to

adjust the imports of [that] article and its derivatives so that such imports will not threaten to

impair the national security.” 19 U.S.C. § 1862(c)(1)(A)(ii).

       Although the determination by the Secretary under section 232(b) and the President’s

action under section 232(c) are tied to “national security,” section 232(d) includes an essentially

unlimited definition of national security—one that departs from an ordinary understanding of

national security as related to national defense and foreign relations—and directions as to how

that term is to be applied:

       the Secretary and the President shall further recognize the close relation of the
       economic welfare of the Nation to our national security, and shall take into
       consideration the impact of foreign competition on the economic welfare of


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        individual domestic industries; and any substantial unemployment, decrease in
        revenues of government, loss of skills or investment, or other serious effects
        resulting from the displacement of any domestic products by excessive imports
        shall be considered, without excluding other factors, in determining whether such
        weakening of our internal economy may impair the national security.

19 U.S.C. § 1862(d). Because section 232(d) allows the Secretary and the President to consider,

in essence, anything in the Nation’s economy that imports might affect, there is nothing that the

President is required to take into account, nor anything that he may not take into account, in

determining whether the national security, as elastically defined, may be impaired by the imports

of the subject article.

        Moreover, section 232 provides no limit or guidance on which import adjustments he

may impose to remedy the threat he identifies pursuant to section 232(d)’s unbounded definition

of national security. The President has an unlimited menu of options that he may employ. These

include imposing tariffs on goods that are currently duty-free and increasing tariffs above those

currently existing under the law for the subject article—with no limit on the level of the tariff.

Thus, section 232 permits the President to impose tariffs—taxes—in unlimited amounts and of

unlimited duration on any imported articles—or, as in the case with the steel tariff, on an entire

class of imported articles. The President may also impose quotas—whether or not there are

existing quotas—and with no limit on how much a reduction from an existing quota (or present

or historical level of imports) there can be for the subject article. In addition, the President could

choose to impose licensing fees for the subject article, either in lieu of or in addition to any tariff

or quota already in place. Conversely, the President may also reduce an existing tariff or

increase a quota, whenever he concludes that such a reduction or increase is in the interest of

national security, as elastically defined. And for all these changes in the law, the President may

select the duration of each such change without any limits on his choice, and he may make any

changes with no advance notice or delay in implementation.


                                                   6
       Under section 232(c), the President has a virtually unlimited range of other choices in

determining what adjustments to imports he wishes to make, with no guidance from Congress as

to how to make them. For instance, there is no requirement in section 232 that the President treat

imports from all countries on a non-discriminatory basis with regard to such matters as the

amount of the tariff or level of quota to be imposed, nor any guidance on whether to exempt

some countries, or segments of any industry, but not others from an otherwise applicable tariff or

quota. Similarly, although the imported articles may vary widely in their uses, quality,

specifications, availability in the United States, and relation to national security—as they do for

imported steel, see infra at 21—the President is permitted to disregard those differences, or take

them into account, in his unfettered discretion.

       There is also no requirement that the President must, or must not, take into account

adverse consequences from a proposed tariff, although he may, if he chooses, do so for any or all

such consequences. Anticipated consequences include: (1) raising the prices of domestic

products made by using the imported article; (2) causing workers outside the domestic industry

of the subject article to lose their jobs or work fewer hours; (3) favoring imported finished

products that contain the imported article and that can be sold at lower prices in the United States

because the tariff does not apply to them; (4) reducing availability of foreign markets for U.S.

exports as a result of higher domestic input prices; or (5) provoking retaliatory tariffs or other

trade actions by U.S. trading partners against U.S. exports. The absence of any guidance from

Congress as to how the President should take into account these and other adverse consequences

of tariffs, quotas, and other measures authorized under section 232 means that the President has

unfettered discretion to punish some industries or sectors in order to benefit others. The President




                                                   7
is thus empowered to make precisely the kinds of broad economic and distributional choices that

the Constitution assigns to Congress.

       Section 232 also lacks procedural protections that might limit the unbridled discretion

granted to the President. Thus, although the President may order a remedy under section 232

only if he concurs with a finding by the Secretary that imports of the subject article may threaten

to impair the national security, the President is not bound in any way by any remedial

recommendations of the Secretary, and he is not required to base his remedy on the report or the

information provided to the Secretary through any public hearing or submission of public

comments.

       The President is also not required to provide an opportunity for the public to comment on

the actual tariff or quota that he is considering imposing, and the Secretary’s request for

comments in this case did not identify any specific remedies that he or the President were

considering. No one is required to prepare an environmental impact statement or a cost benefit

analysis under Executive Order No. 12,866, 58 Fed. Reg. 51,735 (Sept. 30, 1993), as amended

from time to time, or make any kind of rigorous analysis of the positive and negative effects of a

proposed tariff or quota. Nor is the President required to explain his decision in light of what he

or prior presidents have done with regard to previous actions under section 232 involving the

same articles, including that he be consistent in his interpretation and implementation of section

232 from one proceeding to the next.

       Section 232 has no provision for judicial review of orders issued by the President under

it, and because the President is not an agency, judicial review is not available under the

Administrative Procedure Act, 5 U.S.C. § 706. Furthermore, in a lawsuit challenging the 25%

steel tariff on the ground that the President exceeded his statutory authority under section 232,




                                                 8
Severstal Export GMBH v. United States, No. 18-00057 (Ct. Int’l Trade 2018), the Department

of Justice, on behalf of the United States, took the position, with which Plaintiffs agree, that once

       the President received the report that constitutes the single precondition for his
       exercise of discretion under Section 232(c), concurred in its findings, and took the
       action to adjust imports that was appropriate “in the judgment of the President.”
       19 U.S.C. § 1862(c). [The] decision to take action was the President’s to make,
       and his exercise of discretion is not subject to challenge [in court].

Def’t. Mot. to Dismiss, ECF No. 30, at 16–17, Severstal Exp. GmBH v. United States, (Mar. 28,

2018); id. at 19 (“the President’s exercise of discretion pursuant to Section 232 is

nonjusticiable”).1

       B.      THE PRESIDENT’S 25% TARIFF

       On April 19, 2017, the Secretary opened an investigation into the impact of steel imports

on U.S. national security. As part of that investigation, the Secretary held an approximately

three-hour public hearing on May 24, 2017, and provided for the submission of written

statements by interested persons. On January 11, 2018, the Secretary sent the President his

report entitled “The Effect of Imports of Steel on the National Security.” Exhibit 5 (hereinafter,

the “Steel Report”). The Steel Report, which was not released to the public until February 16,

2018, recommended a range of alternative actions, including global tariffs, each of which had the

stated objective of maintaining 80 percent capacity utilization for the U.S. steel industry, but

with no explanation as to how a particular trade barrier would accomplish that result. Steel

Report at 58–61. At the same time, the Secretary issued a report with similar conclusions

regarding imports of aluminum. U.S. DEP’T OF COMMERCE, The Effect of Imports of Aluminum

on the National Security (Jan. 17, 2018), available at

1
  The Severstal court did not accept the government’s non-reviewability argument, but instead
rejected the claim there on the merits. Severstal Exp. GmBH v. United States, 2018 WL 1705298
(Ct. Intl. Trade 2018). Plaintiffs note that there was no claim of improper delegation or
separation of powers in Severstal.


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https://www.commerce.gov/sites/commerce.gov/files/the_effect_of_imports_of_aluminum_on_t

he_national_security_-_with_redactions_-_20180117.pdf (last visited July 19, 2018).

        On February 18, 2018, the Secretary of Defense sent a memorandum to the Secretary,

with copies to various individuals who work directly for the President, stating that the Defense

Department “does not believe that the findings” in the reports on steel and aluminum “impact the

ability of DoD programs to acquire the steel and aluminum necessary to meet national defense

requirements.” Exhibit 8. DOD did express concern about the impact of unfair trade practices

by other countries, but section 232 does not require a finding of those practices before its

remedies can be involved.

        On March 8, 2018, the President issued Proclamation No. 9705, which imposed the 25%

tariff at issue in this action, applicable to all imported steel articles from all countries except

Canada and Mexico, effective March 23, 2018. Proclamation No. 9705, 83 Fed. Reg. 11,625

(Mar. 8, 2018). On the same date, the President imposed a similar tariff, but in the lesser amount

of 10%, on aluminum imports, also based on section 232. Proclamation No. 9704, 83 Fed. Reg.

11,619 (Mar. 8, 2018).2



2
 To date, the President has applied section 232 only to imports of steel and aluminum, but on
May 23, 2018, the Secretary, at the request of the President, announced that he has commenced
an investigation into whether imports of automobiles, including SUVs, vans, light trucks, and
automotive parts, threaten to impair the national security. Press Release, U.S. Department of
Commerce Initiates Section 232 Investigation into Auto Imports, U.S. DEP’T OF COMMERCE (May
23, 2018), available at https://www.commerce.gov/news/press-releases/2018/05/us-department-
commerce-initiates-section-232-investigation-auto-imports (last visited July 17, 2018).
Furthermore, in April 2017, the Secretary stated that in addition to steel and aluminum, “core
industries” for the Administration’s trade agenda include “vehicles, aircraft, shipbuilding, and
semiconductors.” Jacob M. Schlesinger & Bob Davis, Commerce Secretary Ross: Trade
‘National Security’ Probes Could Extend to Semiconductors, Aluminum, DOW JONES, Apr. 25,
2017, available at https://www.dowjones.com/scoops/commerce-secretary-ross-trade-national-
security-probes-extend-semiconductors-aluminum/ (last visited July 17, 2018). On July 18,
2018, Commerce initiated a section 232 investigation into uranium imports. Press Release, U.S.
Department of Commerce Initiates Section 232 Investigation into Uranium Imports, U.S. DEP’T


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       Clause (3) of Proclamation No. 9705 authorized the Secretary “to provide relief from the

[25 % tariff] set forth in clause 2 of this proclamation for any steel article determined not to be

produced in the United States in a sufficient and reasonably available amount or of a satisfactory

quality and . . . to provide such relief based upon specific national security considerations.” 83

Fed. Reg. at 11,627. On March 16, 2018, the Secretary issued an interim final rule setting forth

the requirements for obtaining such relief. Exhibit 10; 15 C.F.R. § 705, Supp. 1.

       The possibility of obtaining relief pursuant to the Secretary’s interim rule is quite limited

because: (a) each application for an exclusion must be submitted by a single entity; (b) each

application can only be for a single product; (c) “[o]nly individuals or organizations using steel

in business activities (e.g., construction, manufacturing or supplying steel product to users) in the

United States may submit exclusion requests,” Exhibit 10 at 12,110 (which excludes importers

and traders in steel such as Plaintiffs Sim-Tex and Orban); (d) there is a mandatory waiting

period of 30 days during which objections may be filed; (e) there is no process to respond to or

rebut objections filed, whether accurate or not; and (f) there is no fixed time within which

applications must be decided, although the Secretary has stated that the review “normally will

not exceed 90 days.” Exhibit 10 at 12,111. The Secretary has acknowledged that there have

been over 20,000 applications for exclusions filed, most of which have not been decided.

RACHEL F. FEFER ET AL., CONG. RESEARCH SERV., R45249, SECTION 232 INVESTIGATIONS:

OVERVIEW AND ISSUES FOR CONGRESS (2018) at 8–9 (citing Secretary Ross, U.S. Congress,

Senate Committee on Finance, Current and Proposed Tariff Actions Administered by the

Department of Commerce, 115th Cong., June 20, 2018). There is no provision for judicial



OF COMMERCE (July    18, 2018), available at https://www.commerce.gov/news/press-
releases/2018/07/us-department-commerce-initiates-section-232-investigation-uranium (last
visited July 18, 2018).


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review of the denial of an exclusion application, and given the highly discretionary and non-

transparent nature of exclusion decisions, success on judicial review would almost certainly be

very difficult if not impossible.

       The President subsequently amended the order based on Proclamation No. 9705 in a

series of proclamations to provide for certain country-based exclusions, some for limited

durations and others indefinite. See Proclamation No. 9711, Exhibit 11 (Mar. 22, 2018);

Proclamation No. 9740, Exhibit 12 (Apr. 30, 2018); and Proclamation No. 9759, Exhibit 13

(May 31, 2018). As a result, imports of steel from Argentina, Brazil, and South Korea are

presently exempt from the 25% tariff without an end date, but are subject to section 232 absolute

quotas.3 Australian imports are not subject to either the 25% tariff or any quotas; the imports

from all other countries, including Canada, Mexico, and the members of the European Union, are

subject to the 25% tariff. Since May 31, 2018, the President has made no further changes in the

application of the 25% tariff, but as Secretary Wilbur Ross stated on that date, “The president has

the authority unilaterally. . . to do anything he wishes at any point subsequent to today.” Heather

Long, Trump has officially put more tariffs on U.S. allies than on China, WASH. POST, June 1,

2018, at A13, available at https://www.washingtonpost.com/news/wonk/wp/2018/05/31/trump-

has-officially-put-more-tariffs-on-u-s-allies-than-on-china/?utm_term=.98551855c7ba (last

visited July 17, 2018).

       There can be no doubt as to the massive impact that the 25% tariff has had on imported

steel, and, as shown below, on the members of Plaintiff AIIS, including Plaintiffs Sim-Tex and

Orban. Through the middle of June, which is before the 25% tariff applied to imports from


3
 Https://www.cbp.gov/trade/programs-administration/entry-summary/232-tariffs-aluminum-
and-steel (last visited July 18, 2018). A printout of the website as of July 18, 2018 is included in
Exhibit 14 of the Statement of Undisputed Facts.


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Canada, Mexico, and the countries of the EU, $582 million had been collected from that tariff

alone. Mark Niquette, Trump’s Metal Tariffs Have Yielded More than $775 Million,

BLOOMBERG, June 21, 2018, available at https://www.msn.com/en-us/finance/markets/trumps-

metal-tariffs-have-yielded-more-than-24775-million/ar-AAyWUCV (last visited July 17, 2018).

       The 25% tariff imposed under section 232, and the exemptions for certain countries, is

not based on any showing of illegal or unfair trade practices by steel producers in other

countries. Those practices are already the basis of additional duties imposed pursuant to the

antidumping and countervailing duty laws of the United States. According to the Steel Report,

as of January 11, 2018, for the steel industry alone, there were 164 such orders in effect, and

there were an additional 20 publicly announced investigations underway. Steel Report at 36,

Appendix K, pp.1-3. The 25% tariff at issue here is on top of any such antidumping or

countervailing duties.

       C.      THIS ACTION

       The complaint was filed on June 27, 2018, along with a motion under 28 U.S.C. § 255 to

designate a three-judge panel of this Court to hear and determine the constitutional issues

presented by Plaintiffs. The Court has jurisdiction under 28 U.S.C. § 1581(i)(2) & (4). The

defendants are the United States and Kevin K. McAleenan, the Commissioner of U.S. Customs

and Border Protection, who is responsible for collecting the payments made on account of the

25% tariff imposed by the President. On July 18, 2018, the defendants filed their Response to

Plaintiffs’ Motion for a Three Judge Panel (Docket No. 19 at 10), in which they concluded that

       a three-judge panel need not be convened to entertain plaintiffs’ complaint. Consistent
       with our general past practice, however, we defer to the Chief Judge’s discretion in
       determining whether to convene a three-judge panel for this case.

       As described in Richard Chriss’ declaration (Exhibit 1), Plaintiff AIIS is a non-profit

membership corporation that brings this action on behalf of its 120 members. AIIS’s members,


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which include the Plaintiffs Sim-Tex and Orban, have various business connections with the

imported steel products that are subject to the 25% tariff challenged in this action. Those

members include companies that use imported steel in the manufacture of their own products,

traders in steel, importers, exporters, freight forwarders, stevedores, shippers, railroads, port

authorities, unions, and many other logistics companies, all of which have been and will continue

to be adversely affected by the 25% tariff on imported steel products. Together, AIIS’s members

handle, import, ship, transport, or store approximately 80% of all imported basic steel products in

the United States.

       As described more fully in Charles Scianna’s declaration (Exhibit 2), Plaintiff Sim-Tex is

a Texas importer of steel products. It is also the leading wholesaler in the United States of oil

country tubular goods (OCTG) casing and tubing, which are carbon and alloy steel pipe and tube

products used in the production and distribution of oil and gas. Sim-Tex imports directly, as the

importer of record, and indirectly, through traders, approximately 40,000–45,000 tons per month

from Korea, Taiwan, Brazil, Germany, Italy and other sources.

       Sim-Tex also purchases and sells OCTG tubing (sizes 2” through 3 ½”) produced in the

United States. Domestic OCTG producers generally do not produce these smaller sizes in

sufficient quantities to fulfill Sim-Tex’s needs of approximately 20,000–25,000 tons of tubing

per month because they can make larger diameter pipe on the same equipment at much higher

profit margins. Sim-Tex’s allocation of smaller size OCTG tubing from domestic producers is

less than 3,000 tons per month, and the balance must be made up with imports. As the importer

of record on most of these purchases, it is directly responsible for paying all import duties,

including the 25% tariff.




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         Plaintiff Orban is a specialized steel trader operating in California that purchases globally

from leading carbon, alloy, and stainless and high nickel alloy manufacturers and sells to

manufacturers in the United States. Exhibit 3. It is a member of Plaintiff AIIS, and it purchases

between 200,000 and 250,000 tons of imported steel per year, most of which is subject to the

25% tariff.

         For Plaintiffs Sim-Tex and Orban and other members of Plaintiff AIIS that purchase

imported steel or products that contain imported steel, the 25% tariff has already, and will

continue to, increase the cost of imported steel and, unless those members increase their sales

prices, the added tariff costs will reduce their profits. Alternatively, those members can attempt

to maintain their profit margins by raising the prices they charge, which will likely reduce their

sales in the United States and abroad, and may require them to lay off workers or reduce their

wages. The 25% tariff will also have a negative effect on their cash flow and on their credit

lines.

         If the 25% tariff is held unconstitutional, those companies, including Plaintiffs Sim-Tex

and Orban and those members of Plaintiff AIIS that actually pay the 25% tariff, may be able to

obtain refunds of those tariff payments from the United States. But those companies will not be

able to recover their lost profits from reduced sales or lower profit margins, and those lost profits

constitute irreparable harm to those companies. Moreover, for those workers at those companies

who will have their incomes reduced because there is less work for their companies as a result of

the impact of the 25% tariff, those lost wages cannot be recovered and therefore constitute

further irreparable harm.

         Many AIIS members do not themselves purchase imported steel or products containing

imported steel, but their businesses are involved in various phases of the transportation of




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imported steel. The 25% tariff was intended to, has had, and will continue to have the effect of,

reducing the total volume of imported steel. As a result, the revenue will be reduced (and

possibly jobs lost) for (a) those members that transport imported steel that are paid by the volume

of imported steel that they transport; (b) the workers whose unions are members of AIIS and who

are paid, in part, by the volume of imported steel that they handle in moving that steel from one

location to another; and (c) the port authorities, customs brokers, insurance companies, and

logistics companies that are members of AIIS and that derive significant portions of their

revenue from their handling of imported steel. Because none of these members of AIIS will

have paid the 25% tariff, directly or indirectly, they will have sustained irreparable damage

because they will have no claim for monetary damages from the United States even if the 25%

tariff is held to be unconstitutional.

                                          ARGUMENT

                    SECTION 232 IS UNCONSTITUTIONAL AS
          AN IMPROPER DELEGATION OF LEGISLATIVE AUTHORITY AND
                  A VIOLATION OF SEPARATION OF POWERS.

        Plaintiffs’ nondelegation challenge to section 232 and the 25% tariff issued pursuant to it

has two inter-related elements: the delegation to the President in section 232 lacks the

“intelligible principle” required by the Supreme Court since it decided J.W. Hampton, Jr,. & Co.

v. United States, 276 U.S. 394, 409 (1928), and the President’s choice of remedies under section

232 is not subject to judicial review or to any of the other procedural checks that are the

hallmarks of controlling Executive Branch decisionmaking in the administrative state. The result

is that President has unbridled discretion to impose whatever trade barriers he chooses with

nothing in section 232 to limit him in any way. That result—“a blank check for the President,”

cf. Hamdi v. Rumsfeld, 542 U.S. 507, 536 (2004)—is wholly antithetical to the separation of

powers and checks and balances embodied in our Constitution and therefore cannot stand.


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       The Framers understood that “[t]he accumulation of all powers, legislative, executive,

and judiciary in the same hands . . . may justly be pronounced the very definition of tyranny.”

THE FEDERALIST NO. 47, at 301 (James Madison) (Clinton Rossiter ed., 1961). To guard against

that possibility, the Constitution contains a separate Article for each of the three branches, which

spells out their respective duties. Article I, section 1 of the Constitution provides that “All

legislative Powers herein granted shall be vested in a Congress of the United States, which shall

consist of a Senate and House of Representatives.” U.S. CONST., art. I, § 1. As for the President,

the Constitution specifies the powers of the office and then in Article II, section 3, directs that

“he shall take Care that the Laws be faithfully executed.” U.S. CONST., art. II, § 3. As Justice

Black observed for the majority in Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587

(1952): “In the framework of our Constitution, the President's power to see that the laws are

faithfully executed refutes the idea that he is to be a lawmaker.” Justice Black then applied that

principle to the case before him in language fully applicable to this challenge: “The President’s

order does not direct that a congressional policy be executed in a manner prescribed by

Congress—it directs that a presidential policy be executed in a manner prescribed by the

President.” Id. at 588.

       To be sure, Congress is not precluded from assigning to the President or others in the

Executive Branch the authority to carry out directives of Congress embodied in duly enacted

laws. Congress may constitutionally permit officials in the Executive Branch to make some

policy decisions. But in section 232, Congress granted the President virtually unlimited

discretion over the core Article I power to impose taxes, and to do so in unlimited amounts and

duration, as well as to mandate quotas, licensing requirements, and similar measures on entire

classes of imported goods affecting wide swaths of the U.S. economy. There is a point beyond




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which the Executive Branch’s delegated authority may not constitutionally go. The Constitution

requires that Congress “lay down by legislative act an intelligible principle to which the person

or body authorized to [exercise the delegated authority] is directed to conform . . . .” Mistretta v.

United States, 488 U.S. 361, 372 (1989) (alteration in original) (quoting J.W. Hampton, 276 U.S.

at 409). As Plaintiffs now show, section 232 does not have intelligible principles for either its

trigger finding or its remedies, nor does it contain any other protections against presidential

misuse of its powers that will assure that the President complies with the law and that principles

of separation of powers are preserved.

               1. Section 232 Lacks Intelligible Principles and Other Protections Necessary
                  to Assure that the President Executes the Law and Does Not Make the
                  Law.

       Under section 232, the President is free to act as long as he concurs in the finding of his

own Secretary of Commerce that a subject article (here steel) “is being imported into the United

States in such quantities or under such circumstances as to threaten to impair the national

security . . . .” 19 U.S.C. § 1862(c)(1)(A). National security is broad term on its own, but

Congress has vastly expanded it beyond its ordinary meaning in section 232(d):

       the Secretary and the President shall further recognize the close relation of the
       economic welfare of the Nation to our national security, and shall take into
       consideration the impact of foreign competition on the economic welfare of
       individual domestic industries; and any substantial unemployment, decrease in
       revenues of government, loss of skills or investment, or other serious effects
       resulting from the displacement of any domestic products by excessive imports
       shall be considered, without excluding other factors, in determining whether
       such weakening of our internal economy may impair the national security.

19 U.S.C. § 1862(d) (emphasis added). The result is that national security in section 232

includes the impact of potentially any imported product—with no guidance or restrictions

on the definition of the product—on the economic welfare of any domestic industry, the

impact of foreign competition on our internal economy, and the impact of foreign



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competition on federal government revenues. Indeed, “national security” as defined in

section 232(d) has no conceptual limits as underscored by the emphasized “without”

phrase. The President is expressly authorized to consider any “other factors” he wishes,

without any guidance or limit on what those factors should be.

       Both section 232(b), governing the Secretary’s finding, which serves as a trigger for the

President’s authority under section 232(c), and section 232(c), governing the President’s

authority to adjust imports, refer to “national security.” The elastic—indeed, virtually

unbounded—definition of national security set forth in section 232, lacks the necessary

intelligible principle to serve as a constitutional trigger to activate Presidential powers to impose

trade barriers under section 232(c). But even if “national security” as defined in section 232

could be considered sufficient to provide a required intelligible principle, section 232(c) is still a

constitutionally improper delegation because it allows the President to “determine the nature and

duration of the action [i.e. trade barriers] that, in the judgment of the President, must be taken to

adjust the imports of [steel] and its derivatives so that such imports will not threaten to impair the

national security,” 19 U.S.C. § 1862(c)(1)(A)(ii), as that term has been expansively defined. It is

this limitless grant of discretionary remedial powers, as applied to section 232’s capacious

definition of national security, which eliminates any doubt as to the constitutionally improper

delegation of lawmaking authority to the President, as the imposition of the 25% tariff illustrates.

       First, section 232 contains no guidance or limit on the kind of action the President may

take. For instance, he may impose tariffs on goods that are currently duty-free or increase tariffs

above those that currently exist under the law—with no restrictions on the amounts he may

impose. Or he may elect to order quotas—whether or not there are existing quotas—again with

no limit on how much a reduction from an existing quota (or present level of imports) there can




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be. In addition, the President could choose to impose licensing fees for the subject article, either

in lieu of or in addition to any tariff or quota already in place. Or the President could take an

unlimited array of other actions, such as imposing inspection regimes or regulations governing

product characteristics or methods of production. The President’s imagination is the only limit

on the kind of action he can take to adjust imports. And for all these changes to the existing

tariff schedule or import quotas, the President may select the duration of each such change

without any controls on his choice, and he may make changes at any time, with no advance

notice or delay in the effective date.

        Second, the articles subject to import adjustment under section 232 will usually vary in

uses, quality, specifications, availability in the United States, and relation to national security, yet

section 232 offers no guidance on how the President should handle such variations or how to

define the “product.” The steel imports giving rise to this case illustrate the problem. “Steel”

encompasses a broad class of products ranging from flat-rolled steel to pipes and tubes, and from

carbon steel alloy to stainless steel. The Secretary himself identified five main categories of

imported steel products, comprised of 177 sub-categories. See Steel Report at 21-22. The

submissions to the Secretary identified substantial additional differences among steel products

that would bear directly on the likely impact of their importation on the national security and the

economy generally as shown in the following paragraph. Citations to the written statements

presented at the May 24, 2017 hearing are reproduced in Appendix F to the Steel Report (as well

as in Exhibit 6) and are in italics, with the page in Appendix F in brackets after the name of the

presenter. Citations to the additional Public Comments have the name of the submitting entity

followed by the number of that submission in parenthesis. The names and numbers appear as

Appendix G to the Steel Report. The Comments are available at




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https://www.bis.doc.gov/232steel, in the Public Comment Library located there and are included

in Exhibit 7 of the Statement of Undisputed Facts.4

         The Secretary received submissions that pointed out significant differences among steel

products generally. These included that (a) U.S. companies can supply all the defense needs for

the product;5 (b) where there is no defense use for the product;6 (c) U.S. companies do not make

the product, do not make it in sufficient quantities to fill the non-defense needs for the product,

and/or do not make it with the quality required by the purchaser of the product and/or its

customers;7 (d) the product is not available from U.S. companies in the portion of the United

States where the purchaser is located and the transportation cost of sending it there is

prohibitive;8 and (e) because of the highly specialized nature of the product, and the relatively

limited uses, it is not economical for domestic steel companies to produce it, or the ability to

increase supplies of the product can only occur over a number of years and then only if demand

for the product can be assured.9 The problem under section 232 is that Congress did not tell the

President even whether to take account of these common sense differences, nor was he was

required to explain whether he considered them at all or why he did not take them into account,

as federal administrative agencies would be required to do.


4
 The comments submitted by the National Foreign Trade Council (120) pointed up the many
difficulties in treating the steel industry as a monolith.
5
    Hyundai [87]; AIIS [89-90]; Ohio Coatings [108].
6
 EUROFER [77]; Can Manufacturers [94]; Tire Manufacturers [96]; Air Distribution [100];
Acenta (1); Bway (31); Hirsh (80); Hitachi (81); Lyman (103); Silgan (149); Steelcase (166).
7
 Tire Manufacturers [96]; Nippon [83-84]; Allied (6); Autoliv (20); BorgWarner (25); CSN (49);
Dayton (53); DB&S (54); Drill Rod (59); DS Containers (61); Electrolux (65); Freudenberg (71);
Grant Prideco (75); Jarvis (92); JTEKT (94); Kerr (95); Metal Flow (110); Pasha (130); Power
Partners (136); Precision Metal (140); Simonds (150); Spectrum (151).
8
    Steelscape [103]; Independent Pipe (85).
9
    H&T (78); Kiewit (97); M7 (104); TMK (174).


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       The President chose to disregard all of these differences in his mandate for a 25% tariff

on steel imports. He was not required to treat all imported steel products identically, nor was he

forbidden from doing so. More importantly, Congress did not include any guidance as to how to

choose which differences to disregard or which ones he must/may treat separately. Despite the

obvious fact that most categories of imported products that might threaten to impair our national

security will have important differences within a given category, Congress said not one word in

section 232 as to whether the President must, may, or must not treat them the same when

imposing tariffs or quotas under section 232. On this aspect, there is no congressional principle

at all, intelligible or otherwise, to guide the President. He was simply left to write new law

himself as to which, if any, of these differences he should recognize and if so, in what manner.

Nor does the fact that the President directed the Secretary to create an administrative exclusion

process solve the delegation problem. As the Supreme Court made clear in Whitman v.

American Trucking Associations, Inc., 531 U.S. 457, 473 (2001),

       The idea that an agency can cure an unconstitutionally standardless delegation of
       power by declining to exercise some of that power seems to us internally
       contradictory. The very choice of which portion of the power to exercise—that is
       to say, the prescription of the standard that Congress had omitted—would itself
       be an exercise of the forbidden legislative authority. Whether the statute delegates
       legislative power is a question for the courts, and an agency’s voluntary self-
       denial has no bearing upon the answer.

(emphasis in original). Moreover, the massive exclusion system—with its approximately 20,000

pending applications—not only highlights the limitless range of actions available to the President

under section 232, but is also a recognition of the need to treat different products differently, but

with no guidance from Congress on how to do so.

       Third, section 232 does not provide the President with any guidance on whether and

under what circumstances he should treat all imports of a given product the same, regardless of

country of origin, or whether and under what circumstances he may or must treat some of them


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differently. If national security in section 232 were limited to “national defense,” as traditionally

understood, that might provide some limits. In that case, the concept of national defense might

suggest that the President should take into account the geographic proximity of countries

supplying the imports, or the fact that a country is a close ally, and therefore the likelihood that

supplies would continue when needed most. But because of section 232(d)’s inclusion of almost

any product that has an impact of any kind on our economy, there is no limiting principle, and

hence the President could exclude countries for any reason, for no reason, or for a reason that

may have nothing to do “national security,”—such as the President’s personal dislike of the

leader of the exporting country, or to use as a bargaining chip over a wholly unrelated

matter. Indeed, the President could impose tariffs of 15%, 25%, and 35%, and could assign a

particular rate to whatever countries or industries he preferred or wished to punish, and there is

nothing in section 232 to prevent him from doing so.

       Fourth, tariffs, quotas, or any other actions the President may take to adjust imports have

adverse consequences on many segments of our economy, far beyond the increased price that

buyers will have to pay for the product. Section 232 provides no guidance as to how or whether

the President should take these collateral consequences into account when deciding on an action

under section 232(c). The most significant of these harms to others are set forth supra at 7, as

amplified by paragraph 27 of the Complaint, and while some may be unique to imported steel,

most of these consequences are based on fundamental principles of supply and demand that

Congress encounters whenever it drafts economic legislation. Nonetheless, section 232 does not

contain so much as a hint as to how the President is to resolve the inevitable tradeoffs between

the benefits of import protection to the protected domestic industry versus the harms to the many

parts of the economy adversely affected by import protection when deciding what “action . . .




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must be taken to adjust the imports of [steel] and its derivatives so that such imports will not

threaten to impair the national security.” 19 U.S.C. § 1862(c)(1)(A)(ii). In short, the choices

under section 232 are entirely up to the President, which is the constitutional downfall of section

232.

       Another way to illustrate how far section 232 is from providing assurances that Congress,

not the President, makes the law regarding the imposition of trade barriers is to compare how

free the President was from the procedural safeguards that would apply if he were subject to the

Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”), which both sides agree that he is

not. The APA was enacted in 1946 to place some controls on the administrative agencies that

had been created by the New Deal and its predecessors. To understand how few of the APA

protections are provided by section 232, consider what would have had to happen if the tariff

order here were issued as a rule, subject to 5 U.S.C. § 553, like the rule at issue in Whitman,

supra. In contrast to the investigation begun by the Secretary here, there would have been a

specific proposal of a rule to which comments could have been directed. In this case, the public

submitted their views on the general issue of tariffs or quotas of steel imports, but there was

never an opportunity to comment on the specifics of any of the President’s Proclamations before

they were issued in final form.10

       Second, as rulemaking has evolved, agencies are now required to make their decisions on

the basis of the materials that they cite in the notice of proposed rulemaking and the submissions

made by those who comment. There is no such limit on the President when he invokes section

232. Section 553 of the APA also imposes a duty on the agency to respond to the principal


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  Nor was there an opportunity to comment on the Secretary’s slightly more specific
recommendation, which was not made public until February 16, 2018, shortly before the
President’s 25% tariff was announced on March 8, 2018.


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objections made in the course of the rulemaking, a requirement designed to assure that the

agency has carefully considered all objections to its proposal and explained why it did not accept

them. Again, section 232 has no comparable requirements. This duty of explanation would

require the agency to show that its rule was consistent with similar rules and other actions that it

had previously taken, a requirement that section 232 does not impose on the President. Finally,

even though the 25% tariff is surely having a major economic impact on our economy, no one

was required to prepare an environmental impact statement or a cost benefit analysis under

Executive Order No. 12,866, 58 Fed. Reg. 51,735 (Sept. 30, 1993), or make any kind of

rigorous analysis of the positive and negative effects of a proposed tariff or quota.

       One example from the tariff imposed by the President will illustrate the impact that these

procedural protections could have had on the President’s action. The percentage selected was

25%, but there is not a word of explanation as to why that number was chosen, especially when

on the same day, the President imposed a tariff on aluminum imports of 10%. The Secretary’s

recommendation suggested a goal for domestic steel production to achieve 80% capacity, and if

the 25% figure were chosen to meet that goal, and if the APA applied, there would have to be an

analysis showing why that tariff would produce that result. But if that had been done, the

analysis would also have had to factor in the various country exclusions that have been added

since the 25% tariff was announced, as well as an estimate of the impact from the grants of

discretionary exclusions on a product and user-specific basis. As it was, the President simply

announced his 25% tariff, with no obligation to justify it.

       Similarly, many commenters objected to applying the tariff to them because their

products do not need tariff protection for a variety of reasons: these include the product having

no national defense uses; domestic producers already supplying all the national defense needs;




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and the product being not available in needed specifications from domestic steelmakers for a

variety of reasons. Supra at 21. Even with the extremely broad national security definition in

section 232, if the APA applied, the agency would have had to explain why there were no

exceptions in the rule itself to cover those circumstances, especially since the problems were

recognized, but the affected entities (actually only some of them) were remitted to a highly

discretionary and limited relief process administered by the Secretary. Moreover, that

explanation would have had to include reasons why (a) the opinion of the Defense Department

that action under section 232 was not “necessary to meet national defense requirements,” (b) the

manifold adverse consequences were not serious enough to offset the benefits of the 25% tariff,

and (c) the seeming material differences among countries in their abilities and willingness to

provide steel, when the interest of national security required, were disregarded also.

       Last, and in addition to these multiple failures of Congress to cabin the unbounded

discretion of the President under section 232(c), there is no provision in section 232 for the

judicial review of the President’s decisions under it. Moreover, since the 1990s, the APA has not

been available as an avenue for judicial review of the President’s actions. In both Franklin v.

Massachusetts, 505 U.S. 788 (1992), and Dalton v. Specter, 511 U.S. 462 (1994), plaintiffs

sought APA review of decisions made by the President under other statutes. The Court,

however, refused to consider the merits of those claims, although it did consider a constitutional

claim in Franklin. Franklin, 505 U.S. at 796, 806; Dalton, 511 U.S. at 476. It held that, under

the relevant statutes, only the final decision of the President can be challenged. See Franklin,

505 U.S. at 779. Moreover, because the President is not an agency under the APA, his actions

are also not subject to judicial review under the APA for claims that his discretionary decisions




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failed to comply with the APA and the applicable substantive statutes (like, in the present case,

section 232). Franklin, 505 U.S. at 801; Dalton, 511 U.S. at 476.

       Because there was no other basis to review the President’s decision, those decisions of

the President, like his decision imposing the 25% tariff on steel imports, are nonreviewable. Not

surprisingly, that is also the position that the Department of Justice took regarding section 232 in

Severstal, supra at 9, with regard to the President’s discretionary determinations, which includes

his decision to impose the 25% tariff.11 Moreover, the failure to provide any judicial review of

the President’s compliance with section 232 removes even the theoretical possibility that a court

could find an intelligible principle guiding or limiting the President’s choices, which underscores

the total transfer of legislative power from Congress to the Executive, “so that it would be

impossible in a proper proceeding to ascertain whether the will of Congress has been

obeyed . . . .” Yakus v. United States, 321 U.S. 414, 426 (1944). And, of course, if the 25% tariff

had become law via a statute, the ultimate checks of agreement by two Houses of Congress and

the signature of the President (or a veto override) would have been assured.

       In short, the final protection against presidential arbitrary action—the ability of injured

parties such as Plaintiffs to seek redress from Article III judges—is foreclosed, and the President

is free to do what he did here: to decide unilaterally whether to impose trade barriers, which

ones to utilize, at what levels, for what duration, applicable to what products, which countries

should receive exemptions, and whether to ignore the inevitable adverse consequences from

imposing the selected barrier. Section 232 allows such limitless discretion, and in doing so


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   Commerce did not claim, and Plaintiffs agree, that if the President imposed this tariff without
the statutorily-required finding by the Secretary, no court could review that failure. In that
unlikely event—the Secretary does serve at the pleasure of the President—a court might well
have mandamus jurisdiction under 28 U.S.C. § 1361, to bar the President from imposing the
tariff until he received the Secretary’s finding.


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violates the nondelegation doctrine and creates an administrative scheme that is inconsistent with

the separation of powers and the checks and balances embedded in our Constitution. As Justice

Scalia observed in his dissenting opinion, in which Chief Justice Roberts and Justice Alito

joined, in Zivotofksy v. Kerry, 135 S. Ct. 2076, 2116 (2015):

       Before this country declared independence, the law of England entrusted the King
       with the exclusive care of his kingdom’s foreign affairs. . . The People of the
       United States had other ideas when they organized our Government. They
       considered a sound structure of balanced powers essential to the preservation of
       just government, and international relations formed no exception to that principle.

               2. Relevant Court Decisions Support Plaintiffs

       In 1935, the Supreme Court struck down two statutes of Congress on the ground that each

of them involved an excessive delegation of legislative authority in violation of Article I, section

1 of the Constitution. Panama Refining Company v. Ryan, 293 U.S. 388 (1935); A.L.A.

Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935). Since then, the Court has

rejected every delegation claim to come before it, while reiterating that Congress must include

the necessary intelligible principles when it assigns implementation responsibilities to the

President or federal agencies.

       Although it may appear that the nondelegation doctrine is alive in name only, the Court’s

recent grant of certiorari in Gundy v. United States, 138 S. Ct. 1260 (2018), suggests the

contrary. At issue in Gundy, which will be argued in the Court on October 2, 2018, is whether

the statute authorizing the Attorney General to decide whether to apply the provisions of the

federal Sex Offender Registration and Notification Act, 34 U.S.C. § 20901 et seq., to offenses

that occurred before that Act was passed violates the nondelegation doctrine. As the merits




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briefs filed by petitioner and a dozen amici in Gundy show, the nondelegation doctrine is very

much alive.12

       As Plaintiffs acknowledged in Plaintiffs’ Memorandum in Support of Motion for a Three-

Judge Panel (at 4), the Supreme Court has previously considered the applicability of the

nondelegation doctrine to section 232 in Federal Energy Administration v. Algonquin SNG, Inc.,

426 U.S. 548 (1976). The Court there rejected a statutory claim that section 232 did not permit

the imposition of import licensing fees, but rather permitted only quantitative restrictions.

Before considering that statutory argument, the Court made the following observation:

       Preliminarily, we reject respondents’ suggestion that we must construe § 232(b)
       narrowly in order to avoid a “serious question of unconstitutional delegation of
       legislative power.” Respondents Brief for 42. Even if § 232(b) is read to authorize
       the imposition of a license fee system, the standards that it provides the President
       in its implementation are clearly sufficient to meet any delegation doctrine attack.

Algonquin, 426 U.S. at 558-59. This statement is dictum because, as discussed further below, the

Court ultimately held that the language of section 232 permitted such licensing fees. Thus,

Algonquin does not control the outcome of the facial constitutional challenge to section 232

presented in this action.

       There are two principal distinctions between Algonquin and this case. First, all parties in

Algonquin agreed that there was full judicial review of the President’s decision there, which is no

longer true. When the Supreme Court heard Algonquin, no party and no Justice suggested that

full judicial review of the order being challenged was not available. Accordingly, the Court

decided the merits of both the statutory and constitutional challenges presented. As noted above,

in the interim between 1976 and now, the legal landscape of judicial review of presidential

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  The grant is even more significant in Gundy because, as the opposition of the United States
pointed out, all eleven federal circuits that had ruled on the nondelegation claim had rejected it
and the Court had previously denied review on that question on fifteen separate occasions. Br. in
Opp’n, at 21-22, Gundy v. United States, No. 17-6086 (S. Ct. Dec. 18, 2017).


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decisions involving implementation of federal statutes has changed markedly as a result of

Franklin and Dalton, supra. There is no longer any judicial review of whether the President has

abused his discretion, or whether any of the protections afforded by the APA and other

comparable statutes have been provided, which are essential to help preserve the limits on the

executive branch that the nondelegation doctrine protects.

       In a line of cases, the Supreme Court has emphasized that the absence of judicial review

and other procedural protections heightens nondelegation concerns. See Skinner v. Mid-America

Pipeline Co., 490 U.S. 212, 218-19 (1989) (reaffirming “our longstanding principle that so long

as Congress provides an administrative agency with standards guiding its actions such that a

court could ‘ “ascertain whether the will of Congress has been obeyed,” ’ no delegation of

legislative authority trenching on the principle of separation of powers has occurred”). See also

Amalgamated Meat Cutters and Butcher Workmen of North America, AFL-CIO v. Connally, 337

F. Supp. 737, 759-60 (D.D.C. 1971) (Leventhal for three-judge panel) (emphasizing importance

of judicial review in context of nondelegation claims as providing “some measure against which

to judge the official action that has been challenged”) (quoting Arizona v. California, 373 U.S.

546, 626 (1963)).

       Most directly relevant is Touby v. United States, 500 U.S. 160, 163 (1991), a

nondelegation challenge to the Attorney General’s authority to temporarily schedule drugs under

the Controlled Substances Act, 21 U.S.C. § 801 et seq., when doing so was “necessary to avoid

an imminent hazard to the public safety.” The defendant in Touby did not argue that the

temporary scheduling procedures lacked an intelligible principle per se. Instead, the defendant

argued, inter alia, that the temporary scheduling procedures violated the nondelegation doctrine

because the Attorney General’s temporary scheduling order was not subject to judicial review.




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See Touby, 500 U.S. at 168. The Court rejected the defendant’s claim, but only because the

Controlled Substances Act provides for judicial review of a permanent scheduling order. Id.

Hence, the Court concluded that the effect of the temporary scheduling procedures was “merely

to postpone legal challenges to a scheduling order for up to 18 months,” and even then, judicial

review might be available in some circumstances. Touby, 500 U.S. at 168-69.

       Here, the failure to provide any judicial review of the President’s compliance with section

232 removes even the theoretical possibility that a court could find an intelligible principle

guiding or limiting the President’s choices. Combined with the absence of any limitations on

what the President may consider in making his choices, the lack of judicial review underscores

the total transfer of legislative power from Congress to the Executive, without any means “to

enable Congress, the courts and the public to ascertain whether the” President has complied with

the will of Congress. Yakus, 321 U.S. at 426. Or, as then Justice Rehnquist said in his

concurring opinion in Indus. Union Dept., AFL-CIO v. Am. Petroleum Inst., 448 U.S. 607, 686

(1980), the intelligible principle requirement “ensures that courts . . . reviewing the exercise of

delegated legislative discretion will be able to test that exercise against ascertainable standards.”

       Second, the plaintiffs in Algonquin did not bring a facial challenge to the constitutionality

of section 232, like the one that Plaintiffs here are bringing. Rather, in Algonquin, the only issue

before the Court was whether section 232 authorized the remedy selected by the President. In

other words, the Algonquin plaintiffs alleged that the President had exceeded his authority under

section 232, while Plaintiffs here allege that Congress has violated the Constitution by failing to

impose any limits on the President’s authority under section 232.

       Specifically, the Algonquin plaintiffs argued that section 232 did not authorize the use of

licensing fees as a means of adjusting imports, and that only quotas or other quantitative means




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of control were permitted. To bolster that statutory argument, the plaintiffs contended that

reading section 232 to permit the imposition of licensing fees would violate the nondelegation

doctrine. Algonquin, 426 U.S. at 560-61. In order to avoid the delegation problem, the plaintiffs

urged the Court to construe section 232 to allow only quotas or quantitative means of adjusting

imports, rather than duties or licensing fees. Id. at 561. The Court declined to do so, and in the

course of so ruling it concluded that the government’s reading of section 232 created no

delegation problems. Id. at 558-59, 561.

       On the merits of the delegation claim there, plaintiffs’ argument in Algonquin was

essentially an avoidance claim and, as such, was extremely weak and hardly measures up to the

claim of Plaintiffs here. Plaintiffs agree with the Algonquin Court that Congress did not limit the

President’s choice of remedies to quotas and quantitative means of control. But that is only part

of the constitutional problem: Congress placed no limits or restrictions at all on this choice of

remedies, on top of creating an almost unlimited definition of national security. Surely, if

Congress had listed all three remedies in section 232, and directed the President to choose the

most appropriate one under the circumstances, there would have been no delegation issue in

Algonquin. And since the plaintiffs in Algonquin never suggested that the remedy chosen was

unknown in the law, such that Congress could not have anticipated it being used, the actual

statute—even without the choice of remedies specified—was no more vulnerable to an excessive

delegation claim than if Congress had given the President an express choice among specified

remedies.

       By contrast, Plaintiffs here make no statutory argument, nor could they because, as

shown above, there are no provisions in section 232 to tell the President whether to address at all,

and if so, how to take into account, the numerous major policy questions that arise when an




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action to adjust imports like the 25% tariff is being considered. Thus, unlike Algonquin, in

which the plaintiffs relied on the nondelegation doctrine to achieve their preferred statutory

construction, Plaintiffs here frontally challenge the breadth of the delegation in section 232 as

unconstitutional. Whereas the plaintiffs in Algonquin alleged that the President had exceeded

the limits imposed by Congress by using licensing fees rather than quotas, Plaintiffs here allege

that Congress violated the nondelegation doctrine by providing no meaningful limits on when or

how the President may decide that foreign competition is a threat to the domestic economy and

how the President should or must exercise his authority to “adjust imports.” Because Algonquin

merely asked the Supreme Court to choose between two possible readings of the statute—one

that permitted licensing fees and one that did not—the Supreme Court never had to consider the

completely unfettered discretion, described in the previous subsection, that Congress conferred

on the President in making a whole range of choices beyond simply the type of trade barrier. For

these reasons, as well the lack of judicial review that was available in Algonquin, that decision

does not stand as a barrier to the improper delegation claim that Plaintiffs present here.

       Turning now to the applicable law in nondelegation challenges, the outcomes depend on

the degree of specificity in three aspects of the statute at issue: the triggering event or finding;

the range of remedies available; and the procedural protections available to help assure that the

will of Congress is followed. For that reason, general statements in court opinions about the

constitutionality of specific statutory schemes offer limited assistance in deciding cases

involving different statutes. In Plaintiffs’ view, there are no recent decisions of the Supreme

Court or other appellate courts that deal with nondelegation claims involving statutes remotely

comparable to section 232. For that reason, Plaintiffs do not argue that any prior Supreme Court

rulings control, or directly support, their nondelegation claim. But nor are there judicial rulings




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rejecting nondelegation challenges to statutes as open-ended as section 232. Nonetheless, there

are two fairly recent Supreme Court decisions—Mistretta v. United States, 488 U.S. 361 (1989),

and Whitman v. American Trucking Associations, Inc., 531 U.S. 457 (2001)—that contain

extensive discussions of the nondelegation doctrine that are consistent with the position taken by

Plaintiffs here, even though the statutes were upheld in both cases.

       At issue in Mistretta were provisions of the Sentencing Reform Act of 1984, 18 U.S.C.

§ 3551 et seq. (“SRA”), under which sentencing guidelines were to be issued by a seven-person

commission. 28 U.S.C. § 991. Congress decided to replace the prior system under which federal

judges were authorized to impose any sentence that they deemed appropriate within the statutory

limits, which led to extreme variations in the length of sentences for similar crimes, based largely

on the differences in sentencing approaches of different federal judges. Mistretta, 488 U.S. at

364-65. In addition, the length of an imposed sentence also varied widely because of the

possibility of parole, which was not applied in a consistent manner. Id. Thus, the use of the

guidelines was to reduce, but not eliminate, the discretion of the sentencing judge when applied

to a clearly-defined triggering event—the conviction of a federal offense—the parallel to section

232’s finding that imports of a product such as steel may threaten to impair the national security

(as capaciously defined).

       The challenge in Mistretta was that Congress had not made what Justice Scalia in his

dissent characterized as “the decisions [that] are far from technical, but are heavily laden (or

ought to be) with value judgments and policy assessments.” Mistretta, 488 U.S. at 414 (Scalia,

J., dissenting). The majority did not disagree that “Congress has delegated significant discretion

to the Commission to draw judgments from its analysis of existing sentencing practice and

alternative sentencing models,” id. at 379, but nonetheless upheld the delegation because of the




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extensive directions included in the statute. Id. at 374. Set forth in the paragraphs below are the

most significant of these controls on what the Commission must do, must not do, and might do

as taken from the discussion in the majority opinion of Justice Blackmun. Id. at 374-77. What is

most significant is not their number, but their comprehensive coverage of the key issues likely to

arise in constructing the guidelines, in marked contrast to section 232(c)’s open-ended invitation

to the President to “determine the nature and duration of the action that, in [his] judgment . . .

must be taken to adjust the imports of the [steel] and its derivatives so that such imports will not

threaten to impair the national security.” 19 U.S.C. § 1862(c).

        Among the most important of these directions for the guidelines were the following:

        1)      It specified three goals to guide the Commission: to “provide certainty and

fairness in meeting the purposes of sentencing, avoiding unwarranted sentencing disparities

among defendants with similar records ... while maintaining sufficient flexibility to permit

individualized sentences,” and to “reflect, to the extent practicable, advancement in knowledge

of human behavior as it relates to the criminal justice process.” Mistretta, 488 U.S. at 374

(alteration in original);

        2)      The law specified four sentencing purposes that had to be followed: “to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

offense”; “to afford adequate deterrence to criminal conduct”; “to protect the public from further

crimes of the defendant”; and “to provide the defendant with needed . . . correctional

treatment.” Id. (alteration in original);

        3)      The guidelines had to have a matrix using both the nature of the offense and the

criminal history of the defendant. Id. at 375-376;




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        4)      With regard to the offense element, “Congress directed it to consider seven

factors: the grade of the offense; the aggravating and mitigating circumstances of the crime; the

nature and degree of the harm caused by the crime; the community view of the gravity of the

offense; the public concern generated by the crime; the deterrent effect that a particular sentence

may have on others; and the current incidence of the offense.” Id. at 375;

        5)      The guidelines could not alter laws on existing maximums or minimums. Id.;

        6)      The Commission was required to use the average of current sentences as a

“starting point.” Id.;

        7)      There were to be ranges within the guidelines that could not exceed certain

parameters. Id.;

        8)      Consideration of race, gender, national origin, creed, and socioeconomic status

were forbidden. Id. at 376;

        9)      Parole was ended and there had to be strict limits on the amount of time a

sentence could be reduced for good behavior in prison. Id. at 367;

        10)     It allowed judges to deviate above or below the guidelines, with an accompanying

statement of reasons, from which both the defendant and the United States could appeal, as well

as providing for appeals based on an incorrect application of the guidelines or their illegality. Id.

at 367-68;

        11)     The Commission had to consider eleven factors regarding the defendant: “the

offender’s age, education, vocational skills, mental and emotional condition, physical condition

(including drug dependence), previous employment record, family ties and responsibilities,

community ties, role in the offense, criminal history, and degree of dependence upon crime for a

livelihood.” Id. at 376;




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        12)      “In addition to these overarching constraints, Congress provided even more

detailed guidance to the Commission about categories of offenses and offender characteristics.”

Id. at 376-77.

        In terms of sheer numbers of instructions from Congress, the difference between the SRA

and section 232 could not be greater. Of course, although the situations for which the two laws

were written are not comparable, the proper role for Congress in both is the same: to provide

directions regarding the principal choices that the Commission or the President would have to

make, and to provide guideposts to cabin the discretion of the Commission or the President in

making them. In that regard, the SRA anticipated the areas where fundamental decisions would

have to be made and gave the Commission considerable guidance, if not complete answers.

While Congress might be faulted, as Justice Scalia suggested, for not making all the hard policy

choices, Congress expressed its views on the main issues and instructed the Commission on what

to consider in resolving them. That surely cannot be said about section 232, which places no

restraints on the President’s discretion to determine when imports of a product such as steel

present a national security threat or on his ability to impose tariffs or quotas of unlimited amount,

scope, and duration, in response. Put another way, if Congress had provided the kind of

directions in section 232 that it included in the SRA, there would be no basis for a delegation

challenge.

        Whitman is the Court’s most recent significant discussion of the nondelegation doctrine,

and, because of the fundamental differences between the portion of the Clean Air Act, 42 U.S.C

§ 7401 et seq. (CAA), at issue there and section 232, there is nothing in Justice Scalia’s opinion

there that undermines Plaintiffs’ claim here. The objection raised in Whitman was that the EPA

was required to, but had not, factored in costs in the rule it finally issued, and like the plaintiffs in




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Algonquin, the private parties raised the delegation claim as a means to their end of validating

their objection. But in both cases, the Court addressed the statutory objection and rejected the

claim on the merits.

       This is how the Court described the delegation argument in Whitman:

       Section 109(b)(1) of the CAA instructs the EPA to set “ambient air quality
       standards the attainment and maintenance of which in the judgment of the
       Administrator, based on [the] criteria [documents of § 108] and allowing an
       adequate margin of safety, are requisite to protect the public health.” The Court of
       Appeals held that this section as interpreted by the Administrator did not provide
       an “intelligible principle” to guide the EPA’s exercise of authority in setting
       NAAQS. “[The] EPA,” it said, “lack[ed] any determinate criteria for drawing
       lines. It has failed to state intelligibly how much is too much.” The court hence
       found that the EPA’s interpretation (but not the statute itself) violated the
       nondelegation doctrine. We disagree.

Whitman, 531 U.S. at 472 (alterations in original) (citations omitted). That claim of improper

delegation would be comparable to a claim here that Congress failed only in its duty to tell the

President how much of a tariff increase was allowed, which is only one very small portion of

Plaintiffs’ delegation claim here.

       As the Court further explained:

       Section 109(b)(1) of the CAA, which to repeat we interpret as requiring the EPA
       to set air quality standards at the level that is “requisite”—that is, not lower or
       higher than is necessary—to protect the public health with an adequate margin of
       safety, fits comfortably within the scope of discretion permitted by our precedent.

Id. at 475-76. Nothing in Whitman rejecting a delegation claim limited to one determination left

to the EPA suggests that the Court would be willing to tolerate a law like section 232 that leaves

wide open all of the significant questions that must be answered in determining how to respond

to threats that imports of steel may impair the national security as broadly encompassed by

section 232(d). Moreover, this case plainly falls on the “substantial” side of the line that the

Court drew when it ruled that Congress “must provide substantial guidance on setting air

standards that affect the entire national economy,” but that far less guidance is necessary when


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the Executive determines relatively minor matters, like the definition of “country elevators.” Id.

at 475.13

       Two other cases that were not decided on delegation grounds point up related

constitutional concerns that support Plaintiffs’ claim here. The first of these, Clinton v. City of

New York, 524 U.S. 417 (1998), involved a situation very similar to this in many respects. A

statute delegating broad lawmaking powers to the President was struck down, albeit not on

improper delegation grounds. The statute was called the Line Item Veto Act after provisions in

many state constitutions that authorized the Governor to veto specific items in bills passed by the

legislature, while signing the remainder of the bill into law. Everyone agreed that under Article

I, section 7 of the Constitution (the “Presentment Clause”) an explicit line item veto would be

unconstitutional, and the Act was an effort to accomplish the same end by alternative means.

Under the Act, the President had only five days to “cancel” separate items of spending or certain

tax expenditures (reductions in revenue included in the Internal Revenue Code), and he could do

so only if he made three findings about the cancellation: that it will “(i) reduce the Federal

budget deficit; (ii) not impair any essential Government functions; and (iii) not harm the national

interest.” Clinton, 524 U.S. at 436. The first is automatic assuming there is a deficit, and the

other two are, in effect, licenses for the President to disagree with the policy judgments made by

Congress in including them in the bill which is presented for his approval. The majority

concluded that the Act was an attempt to do indirectly what everyone agreed could not be done

and directly inconsistent with the Presentment Clause and was therefore unconstitutional: the



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  There was no claim in Whitman that the substances subject to the EPA’s rules were uncertain,
and hence that Congress had failed to define the triggering facts with reasonable precision, as is
the problem with the all-inclusiveness that Congress has employed for national security in
section 232.


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President cannot change or “effect the repeal of laws, for his own policy reasons, without

observing the procedures set out in Article I, § 7.” Id. at 445.

       If the Line Item Veto Act were examined through the delegation lens presented by

Plaintiffs in this case (which is what Justice Breyer did in his dissent), the constitutional outcome

would be the same, although in some respects, the delegation there was more restricted than in

section 232. For example, Congress had significant control over the triggers because the Act

applied only to separate items, and Congress could in most cases combine items together to make

it more difficult for the Act to be invoked. The President had only five days to make a

cancellation, and the only remedy that he had was to cancel the entire item, whereas under

section 232 the President has a choice of remedies among tariffs, quotas, and licensing fees, with

no caps on the amounts that he can impose for any of them. And under both that Act and section

232 here, the effect of the President’s action is to change the law from what it was by cancelling

(eliminating) a portion of the spending law he just signed, and in this case creating tariffs where

none previously existed. On the other side, the “not impair any essential government functions”

and “not harm the national interest” conditions may give the President even more discretion than

the license in section 232(d) to “determine the nature and duration of the action that, in [his]

judgment . . . must be taken to adjust the imports of [steel] and its derivatives so that such

imports will not threaten to impair the national security.” Formal doctrines aside, the Line Item

Veto Act was held unconstitutional for the same basic reason that Plaintiffs urge this Court to

strike down section 232: they both attempt to transfer to the President the authority to make law

and not just implement it, because in both cases Congress surrendered essential policymaking

functions to the President without intelligible principles to reign in his unbridled discretion.

Similarly, as the Court of Customs and Patent Appeals observed in a delegation challenge to a




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different trade statute, “Congress cannot abdicate its legislative function and confer carte blanche

authority on the President.” Star-Kist Foods, Inc. v. United States, 275 F.2d 472, 480 (C.C.P.A.

1959).

         The other Supreme Court ruling relevant to nondelegation is Sessions v. Dimaya, 138 S.

Ct. 1204 (2018). In a series of recent opinions, the Court had found the residual clauses in a

number of criminal sentencing statutes unconstitutional on the ground that they were void for

vagueness.14 Sessions involved a similar residual clause in a statute that removed the discretion

of the Attorney General not to deport an otherwise deportable non-citizen if he or she had

committed offenses within that clause, and the Court struck it down as unconstitutionally vague.

In doing so, the Court note that “the doctrine is a corollary of the separation of powers—

requiring that Congress, rather than the executive or judicial branch, define what conduct is

sanctionable and what is not.” Id. at 1212. In his concurring opinion, Justice Gorsuch made an

additional connection between the void for vagueness and the separation of powers flaws. In

both situations Congress abdicated its responsibility to make the law; in the vagueness cases by

asking the courts to cure the deficiency, and in the delegation cases, by transferring to the

President or others in the Executive Branch the power to do what Congress failed to do.

         It is for the people, through their elected representatives, to choose the rules that
         will govern their future conduct. . . . That power does not license judges to craft
         new laws to govern future conduct, but only to “discer[n] the course prescribed by
         law” as it currently exists and to “follow it” in resolving disputes between the
         people over past events.

Id. at 1227 (Gorsuch, J., concurring) (second alteration in original). And, although he dissented,

Justice Thomas made the same connection between the two legal doctrines: “perhaps the


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   All of those statutes contained some provisions that were perfectly clear and hence
enforceable. Accordingly, the fact that a delegation challenge to one portion of section 232
failed in Algonquin, does not doom this very different challenge here.


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vagueness doctrine is really a way to enforce the separation of powers—specifically, the doctrine

of nondelegation. See Chapman & McConnell, Due Process as Separation of Powers, 121 Yale

L. J. 1672, 1806 (2012) (‘Vague statutes have the effect of delegating lawmaking authority to the

executive’).” Id. at 1248 (Thomas, J., dissenting).

                                                ***
       The viability of an unconstitutional delegation argument does not depend on broad

statements of legal conclusions in judicial opinions, but on the specifics of the statute being

challenged and the basis of that challenge. No case of which Plaintiffs are aware, with a

remotely comparable statute, has rejected a delegation challenge to a statute like this, in which

Congress abdicated its responsibility to establish the intelligible principles required by the

Supreme Court for both the trigger finding and to limit the available remedies. Moreover, not

only does section 232 lack intelligible principles, but there is neither any judicial review nor are

there any other vital procedural protections to assure that the President obeys the expressed will

of Congress. For those reasons and others set forth above, section 232 violates both the

prohibition against granting legislative powers to the President and the system of separation of

powers and checks and balances in the Constitution.




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                                        CONCLUSION

       Plaintiffs’ Motion for Summary Judgment should be granted, and the Court should enter

Plaintiffs’ Proposed Order declaring section 232 and Proclamation No. 9705 unconstitutional and

enjoining defendants from enforcing the 25% tariff on imported steel products based on it.

                                            Respectfully submitted,

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                                   CERTIFICATE OF COMPLIANCE

              I hereby certify that the foregoing brief complies with the Standard Chambers Procedures

  of the U.S. Court of International Trade in that it contains 13,835 words including text, footnotes,

  and headings and excluding the table of contents, table of authorities and counsel’s signature

  block, according to the word count function of Microsoft Word 2010 used to prepare this brief.


                                                                 /s/ Donald B. Cameron




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